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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        )        CHAPTER 13
NANCY CLARK AUSTIN                            )        CASE: A18-55704-JWC
                                              )
                                              )
                 DEBTOR                       )

            CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
              AND EXEMPTIONS AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                             1.

       The Debtor has failed to serve the Chapter 13 plan on applicable creditors pursuant
to Bankruptcy Rule 7004 and has failed to file the corresponding Certificate of Manner of
Service required by General Order 21-2017.

                                             2.

       The Debtor’s Chapter 13 plan fails to check the box in section 5.1 and checks the
domestic support obligation box on page 1, but fails to list a domestic support obligation.
The Trustee is unable to administer the plan as filed 11 U.S.C. 1302(b)(3).

                                             3.

        The Debtor's payments under the proposed plan are not current, thus indicating that
this plan is not feasible. 11 U.S.C. Section 1325(a)(6).

                                             4.

       The Debtor has failed to provide to the Trustee a copy of the 2017 tax return filed
with Internal Revenue Service in violation of 11 U.S.C. Section 521(e)(2)(A).

                                             5.

       The Debtor has failed to file tax returns with the Internal Revenue Service for the
four (4) year period prior to filing in violation of 11 U.S.C. Section 1308. (2015 - 2017
affidavit)
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                                             6.

       The Trustee requests proof of income in order to determine the accuracy and
veracity of the plan and/or Schedules. 11 U.S.C. Section 521(1), 11 U.S.C. Section 1325(a)
(3), and 11 U.S.C. Section 1325(b)(1)(B).

                                             7.

       The Debtor's Schedule I reflects contributions from her ex-husband of $1,000.00
per month and her son of $800.00 per month. The Trustee requests documentation
regarding these contributions, including, but not limited to, a notarized affidavit executed
by the contributor which states the date the contribution began and how long it is expected
to continue. If the contribution is from rental income, the Trustee requests documentation
such as a copy of the written lease or a notarized affidavit from the lessee. 11 U.S.C.
Section 1325(a)(6).

                                             8.

      The Chapter 13 Trustee requests proof of the post-petition mortgage payments of
$746.00 per month in order to determine feasibility of proposed plan pursuant to 11 U.S.C.
1325(a)(6).

                                             9.

       The Chapter 13 Schedules reflect an exemption of $2,608.00 in O.C.G.A. Section
44-13-100(a)(6), an amount that exceeds the exemption limitations allowed in accordance
with O.C.G.A. Section 44-13-100.

                                             10.

       The Debtor’s Schedule J reflects net income of $720.00 per month; however,
Debtor’s plan proposes to pay only $158.00 per month thus indicating a lack of good faith
pursuant to 11 U.S.C. Sections 1325(a)(3) and 11 U.S.C. Section 1325(b)(1)(B).

                                             11.

      The plan provides unclear and possibly conflicting treatment for the first and second
mortgages of Caliber Home Loans, preventing the Trustee from properly administering the
plan.

                                             12.

      The Debtor is proposing a zero percent (0%) dividend payment to nominal
unsecured debt totaling $0.00, which may violate 11 U.S.C. Section 1325(a)(3).
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      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Debtor’s exemptions, deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 21st day of May, 2018.
                                       Respectfully submitted,

                                       /s/__________________________________
                                       Maria C. Joyner
                                       Attorney for the Chapter 13 Trustee
                                       State Bar No. 118350
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                             CERTIFICATE OF SERVICE


Case No: A18-55704-JWC

This is to certify that I have this day served the following with a copy of the foregoing
Chapter 13 Trustee's Objection To Confirmation And Exemptions And Motion To Dismiss
Case by depositing in the United States mail a copy of same in a properly addressed
envelope with adequate postage thereon.


Debtor(s)
NANCY CLARK AUSTIN
4579 GLENFOREST DRIVE NE
ROSWELL, GA 30075




This the 21st day of May, 2018.


/s/__________________________________
Maria C. Joyner
Attorney for the Chapter 13 Trustee
State Bar No. 118350
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
